           Case 2:06-cr-00441-DAD Document 324 Filed 01/21/10 Page 1 of 2


 1   CANDACE A. FRY
     CA Bar No. 68910
 2   2401 Capitol Avenue
     Sacramento, CA 95816
 3   Telephone: (916) 446-9322
     FAX: (916) 446-0770
 4
     Attorney for WENDELL STEWART,
 5   Defendant
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           ) No. CR.S-06-441-GEB
                                         )
12                   Plaintiff,          ) STIPULATION AND ORDER MODIFYING
                                         ) CONDITIONS OF PRETRIAL RELEASE
13        v.                             )
                                         )
14   WENDELL STEWART,                    )
                                         )
15                   Defendant.          )
                                         )
16                                       )
17
18        It is hereby stipulated and agreed by and between the parties
19   hereto, through their respective counsel, that the conditions of
20   pretrial release imposed on defendant Wendell Stewart on June 19, 2008,
21   by The Honorable Kimberly J. Mueller, United States Magistrate Judge,
22   shall be modified to include the following, additional condition as
23   requested by the Pretrial Services Officer:
24        The defendant shall participate in a cognitive behavioral
25        treatment program as directed by the Pretrial Services Officer.
26        Such program may include group sessions led by a counselor or
27        participation in a program administered by the Pretrial Services
28        Officer.


                                           -1-
           Case 2:06-cr-00441-DAD Document 324 Filed 01/21/10 Page 2 of 2


 1   Dated: January 20, 2010                         /s/ Candace A. Fry
                                                  CANDACE A. FRY, Attorney for
 2                                                WENDELL STEWART, Defendant
 3
 4   Dated: January 20, 2010                      BENJAMIN WAGNER
                                                  United States Attorney
 5
                                            By      /s/ Candace A. Fry for
 6                                                JILL THOMAS, Assistant
                                                  United States Attorney
 7
                                                  (Signed for Ms. Thomas with
 8                                                her prior authorization)
 9
10                                      O R D E R
11
12   IT IS SO ORDERED.
13   Dated: January 21, 2010.
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                           -2-
